                                                                                                 Ex. 12


From:           Van Houten, Greg
To:             Jenna Fasone
Cc:             John Brooks; Martin, Ernest; Schindler, S. Benjamin
Subject:        RE: Homeland v CPL - Discovery
Date:           Friday, October 22, 2021 11:11:00 AM
Attachments:    image001.jpg



Jenna,
I write in response to your below e-mail regarding the discovery of Defendants’ meeting
agendas and minutes and also your e-mail from yesterday regarding attachments to certain
documents produced by Defendants. In your below e-mail, Homeland asserts that, “[u]ntil this
issue is resolved, [it] will not be in a position to move forward with additional discovery,
including depositions of relevant personnel at Defendants.”
Homeland’s discovery-related e-mails are surprising to us because Homeland has not yet
responded substantively to our October 6, 2021 e-mail regarding the discoverability of
reserves, reinsurance communications, and certain Sheppard Mullin files. In fact, Homeland
suggested, in your October 13, 2021 e-mail, that the parties should set those discovery issues
aside for a few weeks while the parties complete the pending summary judgment motion
sequence (which is unrelated to any outstanding discovery issues).
As we indicated in our October 12th and 13th e-mails, it is our position that the parties can
walk and chew gum here, i.e., we can tackle these discovery-related issues and the separate
summary judgment motion sequence at the same time.
However, we are not inclined to spend the time and resources to fully address Homeland’s
discovery-related questions until Homeland commits to responding substantively to our
October 6, 2021 e-mail regarding the discoverability of reserves, reinsurance communications,
and certain Sheppard Mullin files. In that regard, can you let us know when we can expect a
response?
Notwithstanding the above, in the spirit of good faith and trusting that Homeland will engage
with our outstanding requests, I can provide you with some limited initial responses to
Homeland’s inquiries.
First, we can confirm that our forthcoming document production—our eighth and hopefully
final production—will include some additional meeting agendas and minutes. The documents
in that production will add to the 8,547 documents (at 62,490 pages) that we have already
produced.
Second, we can confirm that the somewhat irregular nature of the agendas and minutes is
explained by the fact that the meetings took place at irregular intervals because of need,
cancellations, or rescheduling.
Third, we can confirm that e-mail attachments have already been produced, will be produced,
or will appear on our privilege or redaction logs.
We will address any remaining issues under separate cover and hopefully after Homeland
commits to addressing our outstanding October 6th requests.
Thanks,
Greg
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Greg Van Houten | Associate
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From: Jenna Fasone <JFasone@sheppardmullin.com>
Sent: Friday, October 15, 2021 7:47 PM
To: Van Houten, Greg <Greg.VanHouten@haynesboone.com>
Cc: John Brooks <JBrooks@sheppardmullin.com>; Martin, Ernest
<Ernest.Martin@haynesboone.com>; Schindler, S. Benjamin
<S.Benjamin.Schindler@haynesboone.com>
Subject: RE: Homeland v CPL - Discovery
EXTERNAL: Sent from outside Haynes and Boone, LLP
Greg,
We understand that Defendants have at least one more production of documents forthcoming. But
in the interests of moving discovery along, we write to inquire re the nature of the documents in the
final production, as well as the scope of Defendants’ redactions on documents they have already
produced pursuant to their responses to Homelands RFPs (Set One).
With respect to the first issue, as you are aware, Homeland has been seeking agendas/meeting
minutes for some time now as part of its coverage investigation and in response to its Requests for
Production of documents (see, e.g., RFPs 1-10). Based on the documents produced thus far, it
appears several documents in that category may be missing.
As just one example, documents reflecting The Division Presidents’ Calls/Reports (which appear to
be monthly meetings) were included for January 2016, February 2016, March 2016, May 2016, May
2017, September 2018 [DEF-CPL-45383 to 45406], November 2018 [DEF-CPL-62033], and February
2020 [DEF-CPL-62060]. We did not locate documents reflecting meetings/calls/reports from pre-
January 2016, April 2016, June 2016-April 2017, June 2017-August 2018, October 2018, December
2018-January 2020, or anything since February 2020. This includes one of the most relevant
timeframes in this action – the spring/summer of 2016 leading up to when CPL sent OneBeacon its
July 27, 2016 letter.
There are other examples of agendas or minutes missing for various periods of time for other types
of meetings (e.g., Chief’s Weekly Meetings, Executive Staff Meetings) but instead of getting into
specifics on these issues, would you please confirm whether or not additional minutes/agendas will
be forthcoming in any further productions from CPL? If we are mistaken re the Division Presidents’
Calls/Reports as discussed above, would you please let us know the bates numbers/ranges where
the remaining minutes/agendas can be found?
That said, after reviewing the agendas/meeting minutes that Defendants have produced, we would
like to meet and confer regarding the scope of the redactions to those materials. For many of those
documents, the vast majority of them were redacted with only a few sentences having been
produced (e.g., May 8, 2017 minutes at DEF-CPL-45384 to 45388, November 2018 monthly report
for CPL at DEF-CPL-62033 to 62046, etc.). But the extensive redacting makes it virtually impossible
for Homeland to assess the legitimacy of the bases for those redactions.
For example, in the May 8, 2017 minutes from a SHUSA Division Presidents Call, only portions of a
subsection titled “Southwest – Nancy Stratton” were produced. All other Division Updates were
redacted, as were other sections on Budgeting & Forecasting and Discussion on Roche savings. What
is Defendants’ justification for making such sweeping redactions? We understand that certain topics
may be irrelevant (e.g., 401(k) updates), but only limited portions of the minutes/agendas appear to
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relate to such topics.
Even more problematic are Defendants’ redactions to CPL-specific agendas/minutes. For example, a
14-page November 2018 Division President’s Monthly Report for CPL has virtually everything
redacted with the exception of a handful of sentences (some of which appear to have been redacted
mid-sentence). There are several problems with this. First and foremost, Defendants have produced
similar reports, without redactions, that address virtually the same substance (cf. February 2020
Monthly Report with the same headings/topics at DEF-CPL-62060 to 62070). If Defendants can
produce that report without redactions, they should produce all such reports for CPL. Second,
leaving aside other reports, some of the sections in the monthly reports are clearly relevant. For
example, at DEF-CPL-62046, almost the entirety of a section from “Karen Pruitt, VP Quality
Assurance” is redacted, including sections discussing staffing, inspections, legal concerns, initiatives,
and challenges. Whether CPL was aware of issues with its quality control speaks directly to some of
the coverage issues in this litigation (e.g., prior knowledge of potential claims, whether CPL diligently
inquired about potential claims like they told Homeland, etc.). Finally, based on our review of reports
that CPL did produce without redactions (e.g., DEF-CPL-62060 to 62070), it’s clear that there is
nothing overly sensitive in these agendas/minutes that cannot be adequately protected by the
Confidentiality Agreement and Protective Order in place in this case.
For these reasons, we ask that Defendants produce unredacted versions of the requested
agendas/meeting minutes. If Defendants refuse, Homeland hereby requests a detailed explanation
for why such substantial redactions to those materials were made so that Homeland can assess the
validity of those redactions, especially in light of the Confidentiality Agreement and Protective Order.
Until this issue is resolved, Homeland will not be in a position to move forward with additional
discovery, including depositions of relevant personnel at Defendants.
Jenna
Jenna Fasone
SheppardMullin | San Diego
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From: Van Houten, Greg <Greg.VanHouten@haynesboone.com>
Sent: Thursday, October 7, 2021 4:29 AM
To: Jenna Fasone <JFasone@sheppardmullin.com>
Cc: John Brooks <JBrooks@sheppardmullin.com>; Martin, Ernest
<Ernest.Martin@haynesboone.com>; Schindler, S. Benjamin
<S.Benjamin.Schindler@haynesboone.com>
Subject: RE: Homeland v CPL - Discovery
More documents are forthcoming. We are in the process of QCing what we expect will be our
last production.
Greg Van Houten | Associate
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From: Jenna Fasone <JFasone@sheppardmullin.com>
Sent: Thursday, October 7, 2021 12:04 AM
To: Van Houten, Greg <Greg.VanHouten@haynesboone.com>
Cc: John Brooks <JBrooks@sheppardmullin.com>; Martin, Ernest
<Ernest.Martin@haynesboone.com>; Schindler, S. Benjamin
<S.Benjamin.Schindler@haynesboone.com>
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Subject: Homeland v CPL - Discovery
EXTERNAL: Sent from outside Haynes and Boone, LLP
Greg,
Does Defendants’ 7th rolling production yesterday complete their document production or are more
documents forthcoming?
I will respond under separate cover to your other emails.
Jenna
Jenna A. Fasone
+1 619-338-6642 | direct
JFasone@sheppardmullin.com | Bio



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